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                EXHIBIT E
         Case 1:20-cv-07311-LAK Document 277-5 Filed 01/21/24 Page 2 of 2

                                   .                                350 FIFTH AVENUE | 63% FLOOR
                                                                    NEW YORK, NEW YORK 10118

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                                                                                  August 11,2022
                                                                                  August 11, 2022

VIA EMAIL
VIA EMAIL
Alina Habba
Alina  Habba
Habba
Habba Madaio
        Madaio &
               & Associates
                  Associates LLP
                               LLP
1430
1430 US
      US Highway
          Highway 206,
                   206, Suite
                         Suite 240
                                240
Bedminster,  NJ 07921
Bedminster, NJ  07921

                          Re:
                          Re:          Carroll
                                       Carroll v. Trump, 20
                                               v. Trump, 20 Civ.
                                                            Civ. 07311
                                                                 07311 (LAK)
                                                                       (LAK) (JLC)
                                                                             (JLC)

Dear
Dear Counsel:
     Counsel:

        You will
        You        be receiving
              will be   receiving today,
                                     today, via
                                             via secure
                                                  secure file
                                                          file transfer,
                                                               transfer, aa production
                                                                             production of
                                                                                         of 30,286   pages of
                                                                                            30,286 pages    of
documents    bearing the
documents bearing      the Bates    numbers CARROLL_000001
                            Bates numbers        CARROLL 000001 through through CARROLL_030286.
                                                                                   CARROLL 030286. This  This
production is
production  is made   pursuant to
               made pursuant     to the
                                    the Protective
                                         Protective and
                                                     and Confidentiality
                                                         Confidentiality Order
                                                                            Order signed  by the
                                                                                  signed by  the Court
                                                                                                 Court earlier
                                                                                                       earlier
today and
today and substantially
           substantially completes
                           completes our our document    production.
                                             document production.

         Given
         Given that
                that Defendant
                     Defendant hashas taken
                                        taken the   position that
                                               the position         he does
                                                               that he does not
                                                                              not intend
                                                                                   intend to    produce aa single
                                                                                            to produce        single
document
document responsive to Plaintiff’s requests, much less documents created after the filing of
             responsive   to  Plaintiff’s  requests,   much    less  documents     created    after  the  filing   of
Plaintiff’s
Plaintiff’s complaint,
            complaint, our    production of
                         our production     of documents
                                               documents that     post-date the
                                                            that post-date  the filing
                                                                                 filing of
                                                                                         of this
                                                                                             this action
                                                                                                   action consists
                                                                                                           consists
only
only of
      of documents
          documents that
                      that may   be used
                            may be   used byby Plaintiff
                                                Plaintiff as
                                                          as evidence
                                                              evidence at  trial or
                                                                        at trial  or contain
                                                                                     contain communications
                                                                                                 communications
with  potential witnesses.
with potential  witnesses.

        Finally,
        Finally, enclosed     please find
                  enclosed please     find supplemental
                                            supplemental Rule
                                                           Rule 26(a)
                                                                26(a) disclosures, to be
                                                                      disclosures, to be read
                                                                                         read in
                                                                                              in
conjunction
conjunction with
             with our
                  our initial
                      initial disclosures
                              disclosures dated
                                          dated May
                                                May 27,
                                                      27, 2022.
                                                          2022.



                                                                                  Very truly
                                                                                  Very       yours,
                                                                                       truly yours,



                                                                                   FA _
                                                                                  Roberta
                                                                                  Roberta A.
                                                                                          A. Kaplan
                                                                                             Kaplan
